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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
MONIQUE WILLIAMS,
Plaintiff,
Vv. :
: Civil Action Nos. 17-445 (JDB)
UNITED STATES OF AMERICA, et al., :

Defendants .

PLAINTIFF’S DISCLOSURE OF EXPERT TESTIMONY PURSUANT TO FRCP 26(a)(2)

Plaintiff Monique Williams, by counsel Karen E. Evans, Esq., Rabiah Abdullah, Esq.,
and The Cochran Firm, submits this Disclosure of Expert Testimony pursuant to Federal Rule of
Civil Procedure 26(a)(2) and the Court’s Scheduling Order, and identifies the expert witnesses
who will testify on her behalf, as follows. Plaintiff reserves the right to supplement or amend this
Disclosure upon completion of the depositions of the Defendants’ expert witnesses.

1. Melissa C. Blackwell, Psy.D.

5565 Sterrett Place, Suite 320

Columbia, MD 21044

Dr. Blackwell is a clinical psychologist and neuropsychologist who will explain relevant
advances in neuropsychology and neuroscience which are key to understanding the Decedent’s
behavior and neurodevelopmental status at the time of his health care visits during his
adolescence. Dr. Blackwell’s specialized knowledge in the field of adolescent neurocognitive
development and behavior will help the trier of fact to understand the evidence and determine
facts in issue. Dr. Blackwell’s specialized knowledge will help the trier of fact understand the

behavior of adolescent teenagers, and she will testify that HW’s conduct was reasonable and to

be expected from a teenager. Dr. Blackwell may also give a dissertation or exposition of

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scientific or other principles relevant to the case, leaving the trier of fact to apply them to the
facts, where, as here, counsel believes the trier of fact can itself draw the requisite inference.
Dr. Blackwell’s expert report, curriculum vitae, fee schedule and list of prior testimony are
incorporated herein and/or attached hereto as Exhibit 1. She will testify consistent with her
report.

All of Dr. Blackwell’s opinions will be expressed to a reasonable degree of professional
and psychological certainty and probability. She may utilize textbooks, medical articles and
treatises, models, medical illustrations, and other materials and visual aids in her testimony. She
may also use demonstrative and/or graphic illustrations to show the development of the
adolescent brain. She may also use visual enlargements of the relevant medical records,
discovery materials and references as set forth in her report.

Plaintiff incorporates by reference any additional related opinions which may be set forth
in the discovery deposition of Dr. Blackwell. Dr. Blackwell reserves the right to amend or
supplement her opinions as additional information is obtained. Dr. Blackwell is also expected to
address and rebut the opinions of defense expert witnesses, as their opinions become known.
Moreover, if the defendants contend, as threatened, that HW contributed to his own death, then
Dr. Blackwell’s testimony will rebut this defense, and provide a basis upon which the trier of fact
can draw the requisite inference that HW acted reasonably as a teenager and was not
contributorily negligent.

2. Thomas C. Borzilleri, Ph.D.

6701 Democracy Blvd., Suite 300
Bethesda, MD 20817
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Dr. Borzilleri’s expert report, curriculum vitae, fee schedule and list of prior testimony
are incorporated herein and/or attached hereto as Exhibit 2. Plaintiff will call Dr. Borzilleri to
testify as an expert witness in the field of economic valuation, calculation, and projection.

Each of Dr. Borzilleri’s opinions is held to a reasonable degree of professional and
economic certainty. Dr. Borzilleri will testify in accord with the facts, findings, and conclusions
detailed in his report. As is detailed in his report, Dr. Borzilleri will testify as to the present
value of the losses to the Estate of H.W. He may also use demonstrative and/or graphic
illustrations. He may also use visual enlargements of the relevant discovery materials and
references.

Plaintiff incorporates by reference any additional related opinions which are set forth in
the discovery deposition of Dr. Borzilleri. Dr. Borzilleri reserves the right to amend or
supplement his opinions as additional information is obtained. Dr. Borzilleri may also address
and rebut the opinions of defense expert witnesses, as their opinions become known.

Bn Thomas E. Davis, M.D., FAAFP

12103 Belle Meade

St. Louis, MO 63131

Dr. Davis is a member in good standing of the American Academy of Professional
Coders, holding certifications as a Certified Risk Coder and a Certified Professional Compliance
Officer. Dr. Davis’ expert report, curriculum vitae, fee schedule and list of prior testimony are
incorporated herein and/or attached hereto as Exhibit 3. Dr. Davis is a Board-Certified Family
Physician with the Degree of Fellow bestowed by the American Academy of Family Physicians.
Dr. Davis will testify in accord with the facts, findings, and conclusions detailed in his report.

All of Dr. Davis’ opinions will be expressed to a reasonable degree of professional and

medical certainty. He may utilize professional literature, textbooks, illustrations, and other
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materials and visual aids in his testimony. He may also use demonstrative and/or graphic
illustrations. He may also use visual enlargements from his report, relevant discovery materials
and references.

Plaintiff incorporates by reference any additional related opinions which are set forth in
the discovery deposition of Dr. Davis. Dr. Davis reserves the right to amend, subtract, or
supplement his opinions as additional information is obtained. Dr. Davis may address and rebut
the opinions of defense expert witnesses, as their opinions become known.

4. Anne L. Derouin, DNP, APRN, CPNP, FAANP

8100 Winstone Court

Canton, NC 28716

Anne Derouin, DNP, APRN, CPNP, FAANP is currently the Lead Faculty for the PNP-
Primary Care/MSN program at Duke University School of Nursing. Her expert report,
curriculum vitae, fee schedule and statement regarding prior testimony are incorporated herein
and/or attached hereto as Exhibit 4. Dr. Derouin will testify consistent with her report.

All of Dr. Derouin’s opinions will be expressed to a reasonable degree of nurse
practitioner certainty. She may utilize textbooks, treatises, medical articles/treatises, models,
medical illustrations, and other materials and visual aids in her testimony. She may use
demonstrative and/or graphic illustrations. She may also use visual enlargements from her report,
relevant medical records, discovery materials and references.

Plaintiff incorporates by reference any additional related opinions which are set forth in
the discovery deposition of Dr. Derouin. Dr. Derouin reserves the right to amend or supplement
her opinions as additional information is obtained. Dr. Derouin is also expected to address and

rebut the opinions of defense expert witnesses, as their opinions become known.
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5. Bradley Ford, MD, PhD

University of lowa

Roy J. and Lucille A. Carver College of Medicine

University of Iowa Health Care

C606-B General Hospital

Iowa City, IA 52242

Dr. Ford is Medical Director, Clinical Microbiology; Coordinator, Koontz Lecture Series;
Program Director, Medical Microbiology Fellowship; and Clinical Associate Professor of
Pathology at the University of lowa Health Care, Carver College of Medicine. He is a Diplomate
in Clinical Pathology-American Board of Pathology. His professional background and
qualifications are set forth in his report which is attached here to as Exhibit 5. Dr. Ford will
testify as set forth in his report which includes his opinions about the likely HIV test results
based on HIV acquisition on (or before) August 20, 2014 as well as the timing of HW’s syphilis
acquisition and Dr. Ford’s bases for these opinions as described in his report.

All of Dr. Ford’s opinions will be expressed to a reasonable degree of laboratory and
medical certainty. He may utilize textbooks, medical treatises, medical and/or laboratory articles,
CDC literature, medical literature, models, medical illustrations, and other materials and visual
aids in his testimony. He may use demonstrative and/or graphic illustrations. He may also use
visual enlargements of the relevant medical records, discovery materials, references, and charts
and tables as set forth in his report.

Plaintiff incorporates by reference any additional related opinions which are set forth in
the discovery deposition of Dr. Ford. Dr. Ford reserves the right to amend or supplement his
opinions as additional information is obtained. Dr. Ford may also address and rebut the opinions
of other expert witnesses, as their opinions become known.

6. Edward W. Hook III, M.D.

3001 Canterbury Road
Birmingham, AL 35223
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Dr. Hook is Emeritus Professor of Infectious Diseases in the Departments of Medicine,
Epidemiology, and Microbiology at the University of Alabama at Birmingham. Dr. Hook’s
expert report, curriculum vitae, fee schedule and statement regarding prior testimony are
incorporated herein and/or attached hereto as Exhibit 6. Dr. Hook will testify to the opinions,
facts, data and conclusions set forth in his report.

All of Dr. Hook’s opinions will be expressed to a reasonable degree of medical certainty
and probability. He may utilize textbooks, relevant medical literature, medical treatises and
books, models, medical illustrations, and other materials and visual aids in his testimony. He
may use demonstrative and/or graphic illustrations. He may also use visual enlargements of the
relevant medical records, discovery materials and references as set forth in his report.

Plaintiff incorporates by reference any additional related opinions which are set forth in
the discovery deposition of Dr. Hook. Dr. Hook reserves the right to amend or supplement his
opinions as additional information is obtained. Dr. Hook may address and rebut the opinions of
defense expert witnesses, as their opinions become known.
tn John C. Hyde II, Ph.D., FACHE

Health Care Consultant

4301 Highway 35 North

Forest MS 39074

Dr. Hyde is an adjunct Professor of Healthcare Administration at the George Washington
University, teaching healthcare management at the graduate level, and he is a full-time
consultant in the field of healthcare administration. Dr. Hyde’s expert report, curriculum vitae,

fee schedule and statement regarding prior testimony are incorporated herein and/or attached

hereto as Exhibit 7. Dr. Hyde will testify consistent with his report.
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All of Dr. Hyde’s opinions will be expressed to a reasonable degree of professional
certainty. He may utilize textbooks, known treatises, relevant literature in the field, Joint
Commission standards, DC Regulations, and other materials and visual aids, demonstrative
and/or graphic illustrations. He may also use visual enlargements of the relevant standards,
policies, medical records, discovery materials and references noted in his report and generally
relied upon by experts in the field.

Plaintiff incorporates by reference any additional related opinions which are set forth in
the discovery deposition of Dr. Hyde. Dr. Hyde reserves the right to amend or supplement his
opinions as additional information is obtained. Dr. Hyde is also expected to address and rebut the
opinions of defense expert witnesses, as their opinions become known.

8. Elena R. Ladich, M.D.

16699 Collins Ave #3003

Sunny Isles Beach, FL 33160

Dr. Ladich is a Cardiovascular Pathologist who is Board Certified in Anatomic and
Clinical Pathology. Her expert report, curriculum vitae, fee schedule and statement regarding
prior testimony are incorporated herein and/or attached hereto as Exhibit 8. Dr. Ladich will
testify consistent with her report.

All of Dr. Ladich’s opinions will be expressed to a reasonable degree of medical and
pathologic certainty. She may utilize textbooks, known treatises, and medical and/or surgical
books, models, medical illustrations, and other materials and visual aids in her testimony. She
may use micrograph images taken from the pathology slides she reviewed, and other
demonstrative and/or graphic illustrations. She may use visual enlargements of the relevant

images, medical records, discovery materials and references.
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Plaintiff incorporates by reference any additional related opinions which are set forth in
the discovery deposition of Dr. Ladich. Dr. Ladich reserves the right to amend or supplement her
opinions as additional information is obtained. Dr. Ladich is also expected to address and rebut
the opinions of defense expert witnesses, as their opinions become known.

9. Nellie R. Lazar, MSN, MPH, CRNP

4620 Larchwood Avenue

Philadelphia, PA 19143

Nellie R. Lazar, MSN, MPH, CRNP is a Family Nurse Practitioner. She works in the
Division of Adolescent Medicine at Children’s Hospital of Philadelphia (CHOP). Her expert
report, curriculum vitae, fee schedule and statement regarding prior testimony are incorporated
herein and/or attached hereto as Exhibit 9. NP Lazar will testify consistent with the facts,
opinions, data, and conclusions set forth in her report.

All of Nurse Lazar’s opinions will be expressed to a reasonable degree of nurse
practitioner certainty. She may utilize textbooks, known treatises, and CDC literature, medical
and/or surgical books, models, medical illustrations, and other materials and visual aids in her
testimony. She may use demonstrative and/or graphic illustrations. She may also use visual
enlargements of the relevant medical records, discovery materials and references.

Plaintiff incorporates by reference any additional related opinions which are set forth in
the discovery deposition of Nurse Lazar. Nurse Lazar reserves the right to amend or supplement
her opinions as additional information is obtained. Nurse Lazar is also expected to address and
rebut the opinions of defense expert witnesses, as their opinions become known.

10. Katherine Margo, M.D.

426 Carpenter Lane
Philadelphia, PA 19119
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Dr. Margo is a Board-Certified Family Physician and Associate Professor of Family
Medicine and Community Health who has worked side-by-side with nurse practitioners (NPs) in
various outpatient settings and provided clinical precepting to them. Her expert report,
curriculum vitae, fee schedule and statement regarding prior testimony are incorporated herein
and/or attached hereto as Exhibit 10. Dr. Margo will testify consistent with her report.

All of Dr. Margo’s opinions will be expressed to a reasonable degree of nurse practitioner
certainty. She may utilize textbooks, known medical treatises, and medical and/or surgical books,
models, medical illustrations, and other materials and visual aids in her testimony. She may use
demonstrative and/or graphic illustrations. She may use visual enlargements of the relevant
images, medical records, discovery materials and references.

Plaintiff incorporates by reference any additional related opinions which are set forth in
the discovery deposition of Dr. Margo. Dr. Margo reserves the right to amend or supplement her
opinions as additional information is obtained. Dr. Margo may address and rebut the opinions of

defense expert witnesses, as their opinions become known.
11. John P. Rissing, M.D., FACP, FIDSA

16 Woodside Circle

Evans, GA 30809

Dr. Rissing is a Professor of Medicine in the Division of Infectious Diseases, Department
of Medicine at Augusta University. He also administers the Ryan White Program. Dr. Hook’s
expert report, curriculum vitae, fee schedule and statement regarding prior testimony are
incorporated herein and/or attached hereto as Exhibit 11. Dr. Rissing will testify consistent with
his report.

All of Dr. Rissing’s opinions will be expressed to a reasonable degree of medical

certainty. He may utilize medical literature, textbooks, and known treatises, models, medical
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illustrations, and other materials and visual aids in his testimony. He may use demonstrative
and/or graphic illustrations. He may also use visual enlargements of the relevant medical records,
medical literature, discovery materials and references.

Plaintiff incorporates by reference any additional related opinions which are set forth in
the discovery deposition of Dr. Rissing. Dr. Rissing reserves the right to amend or supplement
his opinions as additional information is obtained. Dr. Rissing may also address and rebut the
opinions of defense expert witnesses, as their opinions become known.

12. Karen A. Santucci, M.D., FAAP

22 Heritage Hill Road

Norwalk, CT 06851

Dr. Santucci practices Pediatrics and Pediatric Emergency Medicine, is Director of the
Pediatric Hospitalist Program at Greenwich Hospital, and is Executive Vice-Chair of Pediatrics
at Yale University School of Medicine. Her expert report, curriculum vitae, fee schedule and
statement regarding prior testimony are incorporated herein and/or attached hereto as Exhibit 12.
Dr. Santucci will testify consistent with her report.

All of Dr. Santucci’s opinions will be expressed to a reasonable degree of medical
certainty. She may utilize medical literature, textbooks, known treatises, models, medical
illustrations, and other materials and visual aids in her testimony. She may use images,
demonstrative and/or graphic illustrations. She may use visual enlargements of the relevant
images, medical records, discovery materials and references.

Plaintiff incorporates by reference any additional related opinions which are set forth in
the discovery deposition of Dr. Santucci. Dr. Santucci reserves the right to amend or supplement
her opinions as additional information is obtained. Dr. Santucci may address and rebut the

opinions of defense expert witnesses, as their opinions become known.

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13. Michael T. Vossmeyer, M.D., FAAP

703 Sunglow Drive

Villa Hills, KY 41017

Dr. Michael Vossmeyer is an Associate Professor, Clinical Pediatrics at the University of
Cincinnati College of Medicine and is an attending Physician, Division of Hospital Medicine at
Cincinnati Children’s Hospital Medical Center. Dr. Vossmeyer participated in the development
of the hospitalist program at Cincinnati Children's. He was instrumental in developing and
spreading family-centered rounding at Cincinnati Children's and has made numerous invited
presentations on the subject. He was co-designer of the Pediatric Early Warning System and
collaborated in its implementation and dissemination. Currently he is working to increase
collaboration between community physicians who admit and care for their patients and the
hospitalist faculty. Dr. Vossmeyer’s expert report, curriculum vitae, fee schedule and statement
regarding prior testimony are incorporated herein and/or attached hereto as Exhibit 13. Dr.
Vossmeyer will testify consistent with his report.

All of Dr. Vossmeyer’s opinions will be expressed to a reasonable degree of medical
certainty. He may utilize medical literature, textbooks, known treatises, models, medical
illustrations, and other materials and visual aids in his testimony. He may use demonstrative
and/or graphic illustrations. He may also use visual enlargements of the relevant medical records,
discovery materials and references.

Plaintiff incorporates by reference any additional related opinions which are set forth in
the discovery deposition of Dr. Vossmeyer. Dr. Vossmeyer reserves the right to amend or
supplement his opinions as additional information is obtained. Dr. Vossmeyer may also address

and rebut the opinions of defense expert witnesses, as their opinions become known.

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14, Julia S. Whitefield, M.D., Ph.D.

Pediatric Emergency Medicine

5525 N. Stanton Street, #26A

El Paso, TX 79912

Dr. Whitefield has worked in Pediatric Emergency Medicine since 1987 and is certified
by the American Board of Pediatrics (MOC) and the American Board of Pediatrics sub-board of
Pediatric Emergency Medicine. She has devoted her professional life to teaching communities,
training parents, EMTs, nurses and physician colleagues about pediatric emergencies. She is a
diplomate of the American Board of Pediatrics and is a Fellow of American Academy of
Pediatrics. Her expert report, curriculum vitae, fee schedule and statement regarding prior
testimony are incorporated herein and/or attached hereto as Exhibit 14. Dr. Whitefield will
testify consistent with her report.

All of Dr. Whitefield’s opinions will be expressed to a reasonable degree of medical
certainty. She may utilize medical literature, textbooks, known treatises, models, medical
illustrations, and other materials and visual aids in her testimony. She may use images,
demonstrative and/or graphic illustrations. She may use visual enlargements of the relevant
images, medical records, discovery materials and references.

Plaintiff incorporates by reference any additional related opinions which are set forth in
the discovery deposition of Dr. Whitefield. Dr. Whitefield reserves the right to amend or
supplement her opinions as additional information is obtained. Dr. Whitefield is also expected to
address and rebut the opinions of defense expert witnesses, as their opinions become known.
15. Richard A. Berg, M.D.

2700 Quarry Lake Drive,

Suite 260
Baltimore, MD 21209

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Dr. Berg is a board-certified internist and infectious disease specialist. His curriculum
vitae and fee schedule are attached. He will offer opinions regarding standard of care, causation,
and damages. His opinions will be based upon his education, training, experience and knowledge
of relevant literature and his review of Mr. Stanley’s medical records and other discovery
materials produced in this case. Dr. Berg’s expert report, curriculum vitae, fee schedule and
statement regarding prior testimony are incorporated herein and/or attached hereto as Exhibit 15.
Dr. Berg will testify consistent with his report.

All of Dr. Berg’s opinions will be expressed to a reasonable degree of medical certainty.
He may utilize medical literature, textbooks, known treatises, models, medical illustrations, and
other materials and visual aids in his testimony. He may use images, demonstrative and/or
graphic illustrations. He may use visual enlargements of the relevant images, medical records,
discovery materials and references.

Plaintiff incorporates by reference any additional related opinions which are set forth in
the discovery deposition of Dr. Berg. Dr. Berg reserves the right to amend or supplement his
opinions as additional information is obtained. Dr. Berg is also expected to address and rebut the
opinions of defense expert witnesses, as their opinions become known.

Hybrid Witness Testimony:

RULE 26(a)(2)(C) Witnesses Who Do Not Provide a Written Report.

16. Roger A. Mitchell, Jr., M.D., FASCP

Chief Medical Examiner, District of Columbia

401 E Street, S.W., Suite 6102

Washington, DC 20024

Dr. Mitchell, Chief Medical Examiner for the District of Columbia, performed the
autopsy of the Decedent H.W. and authored the original and final amended Autopsy Reports. His

Autopsy Report, Amended Autopsy report, photographs and Office of the Chief Medical

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Examiner (OCME) file were previously provided to counsel. However, copies of the Autopsy
reports are included herein along with Dr. Mitchell’s professional biography, which are
incorporated herein and attached hereto as Exhibit 16.

Dr. Roger Mitchell Jr. is board certified in Anatomic and Forensic Pathology by the
American Board of Pathology and a Fellow with the National Association of Medical Examiners
(NAMB). Dr. Mitchell is the new Chair of the Strategic Planning Subcommittee for NAME and
is the Immediate Past Chair for the Deaths in Custody Subcommittee. Dr. Mitchell has recently
served as the National Co-Chair for the National Medical Association’s (NMA) Working Group
on Gun Violence and Police Use of Force.

Dr. Mitchell is expected to provide testimony consistent with his Amended Autopsy
Report and the inferences derived from his report, the reports in the file of the OCME, including
communication with HW’s healthcare providers from CNMC and Unity Health as well as any
medical records he was provided at the time. Dr. Mitchell will authenticate and testify about the
color photographs and drawings taken and created during the autopsy. He will also testify about
the toxicology report and Microbiology Report prepared by the Office of the Chief Medical
Examiner. He will testify that the Medical Examiner tested Decedent’s blood for HIV post-
mortem, which came back reactive. Dr. Mitchell will testify consistent with the microbiology
report and HIV results. He will testify that the color autopsy photographs, drawings and any
testing were performed at his direction and were obtained in connection with the autopsy and
preparation of his report.

Dr. Mitchell will testify that he performed the entire autopsy including his initial gross
examination of the brain, sections, and slides. He will also testify that he sent slides of the

Decedent’s brain to neuropathology consultant Brent T. Harris, M.D. whose Neuropathology

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Report confirmed Dr. Mitchell’s findings. Dr. Harris’ Neuropathology Consultation Report was
provided to the Office of the Chief Medical Examiner (OCME) and was contained in the OCME
file. Dr. Harris’ findings are incorporated in the Histology section of the final Amended Autopsy
Report, with minor changes in the section regarding the head and neck. Dr. Mitchell is expected
to testify that the histological findings of H.W.’s brain revealed that he had syphilis; spirochetes
were seen in his brain. He is also expected to testify that inflammation was found in and around
the vessel structures in H.W.’s brain, which had an “angry” pink appearance. The brain was
swollen.

Dr. Mitchell will testify and explain that during the autopsy, he observed some “chronic”
inflammation -- “chronic” meaning a descriptor of the type of cells (lymphocytes) and
description of the cellular response, as the bacteria elicited an inflammatory response in this case.
Thus, “chronic” does not refer to the timing, but rather to the type of cells and cellular response
to the cause of inflammation.

Dr. Mitchell will testify regarding his gross findings and histologic findings. He will
testify that HW’s body was received in a hospital gown and he was wearing an adult diaper,
which is shown in autopsy photographs by the blue hue under the gown. He will testify about the
tattoos, the rash on HW’s buttocks and that the lymph nodes in H.W.’s neck were prominent and
“congested,” with a pink and dark appearance suggesting infection. He will also testify that
H.W.’s throat was red. He will testify to the findings and conclusions in the autopsy reports.

Dr. Mitchell will testify regarding the pathologic cause of HW’s death. He will explain
what pathologic cause of death means. He will testify that his pathological diagnosis was as
follows:

I. Sudden death due to Myocarditis and cerebral Angiitis complicating Syphilis
infection

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a. Hospital Testing (10/07/2014)-Florescent Treponemal Antibody (FTA-ABS) IgG-
Positive
b. Generalized lymphadenopathy, porta hepatis

Il. Human Immunodeficiency Virus (HIV) Positive
a. Hospital Testing (10/9/2014)-HIV-1 RNA detected

Cause of Death: Sudden Death due to myocarditis and cerebral vasculitis complicating syphilis
infection.

Contributing Cause: Human Immunodeficiency Virus Infection

Dr. Mitchell is also expected to testify that from a pathology perspective, syphilis was the
primary underlying cause of H.W.’s death, which was connected to his myocarditis, vasculitis,
and encephalitis. The secondary contributing cause was HIV, which will potentiate a syphilis
infection, causing it to progress faster in a poor immune environment. Dr. Mitchell will testify
that the mechanisms of death likely involved myocarditis, fatal arrhythmia and cerebral
vasculitis and any medical consequences that flowed from these conditions.

All of Dr. Mitchell’s opinions will be expressed to a reasonable degree of medical and
pathologic certainty and probability. He may utilize professional literature, medical literature,
medical textbooks, known treatises, models, medical illustrations, and other materials and visual
aids in his testimony. He may also use demonstrative and/or graphic illustrations. He may also
use visual enlargements of the relevant discovery materials and references.

Plaintiff incorporates by reference any additional related opinions which are set forth in
any discovery deposition of Dr. Mitchell. Dr. Mitchell reserves the right to amend or supplement
his opinions as additional information is obtained. Dr. Mitchell may also address any opinions

expressed by other pathologists that differ from his opinions, as they become known.

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17. Brent T. Harris, M.D., Ph.D.
Consulting Neuropathologist, D.C. Office of the Chief Medical Examiner
Director of Neuropathology
Georgetown University Medical Center, Department of Neurology
Building D, Room 207
4000 Reservoir Road, N.W.
Washington, DC 20057
Dr. Brent Harris is an Associate Professor, Departments of Neurology and Pathology,
Director of Neuropathology, Director, Harris Lab, Director, Georgetown Brain Bank, Co-
Director, Histopathology and Tissue Shared Resource and Consulting Neuropathologist, D.C.
Office of Chief Medical Examiner. His professional biographical information and expert report
are attached hereto as Exhibit 17. He is expected to provide testimony consistent with his report.
Per his report, Dr. Harris reviewed 15 slides labelled 14-2302. He will testify that he
reviewed slides of HW’s brain tissue which were created and stained by the Office of the Chief
Medical Examiner (OCME). He will also testify that he reviewed the case grossly with Dr.
Mitchell in 2014 but that the slides were not prepared and submitted to him for review until
2017. He will testify that in 2017 he performed a microscopic review of HW’s brain tissue and
thereafter authored the attached Neuropathology consultation report.
Dr. Harris will testify that his final diagnoses included the following:
I, Diffuse meningoencephalitis and spirochete infection, consistent with neurosyphilis.
II. Diffuse, mild cerebral edema.
III. | Acute hypoxia-ishchemia, left hippocampus.
IV. Metabolic glia.
Dr. Harris will testify that he personally examined HW’s brain tissue and reviewed the

report. He will define the meaning and explain the pathologic significance of his diagnosis listed

above, the tasks he performed to reach these diagnoses and the bases for his diagnoses. All of

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Dr. Harris’ opinions will be expressed to a reasonable degree of medical and pathologic
certainty. He may utilize professional literature, textbooks, known treatises, and medical books,
models, medical illustrations, and other materials and visual aids in his testimony. He may also
use demonstrative and/or graphic illustrations. He may also use visual enlargements of the
relevant discovery materials and references.

Plaintiff incorporates by reference any additional related opinions which are set forth in
the discovery deposition of Dr. Harris.

Plaintiffs’ reserve the right to call as a witness at trial any and all expert witnesses
identified by the defendants in their expert designations, witness lists and/or discovery responses,
and any of HW’s treating healthcare providers who, while not retained, may provide testimony

within their areas of expertise regarding their care and treatment of H.W.

DATE: Oct. 3, 2019
Respectfully submitted,

THE COCHRAN FIRM

/s/ Karen E. Evans
Karen E. Evans, Esq. #426067
Rabiah Abdullah, Esq. #459984
1100 New York Avenue, N.W.
Suite 340 — West Tower
Washington, DC 20005
Telephone: (202) 682-5800
Fax: (202) 408-8852
kevans@cochranfirm.com
rabdullah@cochranfirm.com
Counsel for Plaintiffs

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CERTIFICATE OF SERVICE

I hereby certify that on this 3" day of October, 2019, a copy of the foregoing was filed
and served via electronic filing upon the following counsel of record:

Scott Leeson Sroka, Esq.

Assistant United States Attorney

555 4th Street, N.W.

Washington, DC 20530

Attorney for Defendant United States of America

Sean M. Flaim, Esq.

Office of the General Counsel

U.S. Dept. of Health and Human Services
Of Counsel

Crystal S. Deese, Esq.

Edward J. Sedlacek, Esq.

1120 20th Street, N.W.

South Tower, Third Floor

Washington, DC 20036

Attorneys for Children’s National Medical Center

/s/ Karen E. Evans
Karen E. Evans

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